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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  JANE DOE,
                                                                Civil Case No.: 1:19-cv-23667
                   Plaintiff,
                                                                              COMPLAINT
          -against-                                                       PLAINTIFF DEMANDS
                                                                            A TRIAL BY JURY
  BOOBY TRAP, INC., BT'S RIVERFRONT
  LAND HOLDINGS, LLC d/b/a BOOBY
  TRAP, BTS NORTH, INC. d/b/a BOOBY
  TRAP, T.K. PROMOTIONS, INC. d/b/a BOOBY
  TRAP, P.T.G. ENTERTAINMENT, INC. d/b/a
  BOOBY TRAP, B&G OPA LAND HOLDINGS,
  LLC d/b/a BOOBY TRAP, BT'S ON THE
  RIVER, LLC d/b/a BOOBY TRAP, THE GORI
  FAMILY LIMITED PARTNERSHIP d/b/a
  BOOBY TRAP, PG INVESTMENTS II, INC.
  d/b/a BOOBY TRAP, THE NEW MINT, LLC
  d/b/a BOOBY TRAP, WACHOVIA HOLDINGS
  LLC d/b/a BOOBY TRAP, ADULT CLUB
  MANAGEMENT LLC d/b/a BOOBY TRAP,
  SOLI LNU, individually and in his official capacity,
  ABE LNU, individually and in his official capacity,
  and ANTHONY NAMIAS, individually and in his
  official capacity,

                                      Defendants.
  ------------------------------------------------------x


  Plaintiff, JANE DOE, by and through her attorneys, DEREK SMITH LAW GROUP, PLLC,

  hereby complains of Defendants, BOOBY TRAP, INC., BT'S RIVERFRONT LAND

  HOLDINGS, LLC d/b/a BOOBY TRAP, BTS NORTH, INC. d/b/a BOOBY TRAP, T.K.

  PROMOTIONS, INC. d/b/a BOOBY TRAP, P.T.G. ENTERTAINMENT, INC. d/b/a BOOBY

  TRAP, B&G OPA LAND HOLDINGS, LLC d/b/a BOOBY TRAP, BT'S ON THE RIVER, LLC

  d/b/a BOOBY TRAP, THE GORI FAMILY LIMITED PARTNERSHIP d/b/a BOOBY TRAP,

  PG INVESTMENTS II, INC. d/b/a BOOBY TRAP, THE NEW MINT, LLC d/b/a BOOBY




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     TRAP, WACHOVIA HOLDINGS LLC d/b/a BOOBY TRAP, ADULT CLUB MANAGEMENT

     LLC d/b/a BOOBY TRAP, SOLI LNU, individually and in his official capacity, ABE LNU,

     individually and in his official capacity, and ANTHONY NAMIAS, individually and in his official

     capacity, (hereinafter referred to collectively as “BOOBY TRAP” or “DEFENDANTS”), and

     alleges as follows:

                                            NATURE OF CASE

            Plaintiff, JANE DOE, complains pursuant to Fair Labor Standards Act, 29 U.S.C. 201 et.

     seq., (“FLSA”), Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to

     2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of 1991, Pub. L. No. 102-166

     ( “Title VII”); the Florida Civil Rights Act of 1992, Section 760.10 et seq. ( “FCRA”); and Florida

     law; and seeks damages to redress the injuries Plaintiff suffered as a result of being exposed to

     sex/gender discrimination, sexual harassment, sexual battery, sexual assault, false imprisonment,

     intentional infliction of emotional distress, hostile work environment, retaliation, negligence, and

     unlawful constructive discharge arising out of forcible rape and unlawful employment practices.


                                     JURISDICTION AND VENUE

1.      This is an action at law within the jurisdiction of this Court as a matter in controversy which

        exceeds the sum of $15,000, exclusive of interest, attorney's fees, if any, and costs.

2.       The Court has subject matter jurisdiction pursuant to FLA. STAT. §§ 26.012(2) and 34.01(c)

        inasmuch as the matter in controversy – including monetary damages and other relief sought

        by Plaintiff – exceeds $15,000.00, exclusive of interest, costs and attorneys’ fees.

3.      Plaintiff is an individual who resides in the State of the Florida.

4.      Defendant is an individual who committed tortious acts within the State of Florida and, upon

        information and belief, currently resides in the State of Alabama.


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5.    Venue is proper in Miami-Dade County, Florida inasmuch as Defendant is a nonresident of

      the State of Florida and has substantial contacts with the State of Florida.

6.    All conditions precedent to the maintenance of this suit and Plaintiff’s claims have occurred,

      been performed or have otherwise been waived.

7.    The Court has personal jurisdiction over Defendant pursuant to FLA. STAT. § 48.193(1)(a)

      because Defendant committed tortious acts within the State of Florida.


                                    PROCEDURAL REQUIREMENTS

8.    Plaintiff has complied with all statutory prerequisites to file this action.

9.    On or around October 26, 2018, Plaintiff dual filed her charge with the Equal Employment

      Opportunity Commission (“EEOC”) and Florida Commission on Human Relations (“FCHR”)

      Charge number 201916414.

10.   An EEOC filing automatically operates as a dual FCHR filing.

11.   On or around June 19, 2019, Plaintiff received the Right to Sue Letter in reference to her EEOC

      and FCHR charge.

12.   Plaintiff filed this complaint within ninety (90) days of the issuance of the EEOC and FCHR’s

      Right to Sue letter.

                                                PARTIES

13.   Plaintiff DOE is an individual female and at the time of the allegations in this Complaint was

      an adult female. Plaintiff resides in the State of Florida County of Miami-Dade. Plaintiff is

      identified in this lawsuit by the pseudonym because this case involves a substantial privacy

      concern. As Plaintiff has alleged that she was raped, her privacy concerns outweigh the practice

      of disclosing her identity.

14.   Upon information and belief, at all times relevant to this Complaint, Defendant BOOBY


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      TRAP, INC., is a Florida Profit Corporation with its principal place of business located at 2840

      HAMMONDVILLE ROAD, POMPANO BEACH, FL 33069, and authorized to do business

      in the state of Florida.

15.   At all times material, Defendant BT'S RIVERFRONT LAND HOLDINGS, LLC, d/b/a

      BOOBY TRAP, is a Florida Profit Corporation with its principal place of business located at

      2840 HAMMONDVILLE ROAD, POMPANO BEACH, FL 33069, Florida, and authorized

      to do business in the state of Florida.

16.   Upon information and belief, at all times relevant to this Complaint, Defendant BTS NORTH,

      INC. d/b/a BOOBY TRAP, T.K. PROMOTIONS, INC. d/b/a BOOBY TRAP, is a Florida

      Profit Corporation with its principal place of business located at 5325 N.W. 77TH AVENUE,

      MIAMI, FL 33166, and authorized to do business in the state of Florida.

17.   Upon information and belief, at all times relevant to this Complaint, Defendant P.T.G.

      ENTERTAINMENT, INC., d/b/a BOOBY TRAP, is a Florida Profit Corporation with its

      principal place of business located at 2840 HAMMONDVILLE ROAD, POMPANO BEACH,

      FL 33069, and authorized to do business in the state of Florida.

18.   Upon information and belief, at all times relevant to this Complaint, Defendant B&G OPA

      LAND HOLDINGS, LLC, d/b/a BOOBY TRAP, is a Florida Limited Liability Company with

      its principal place of business located at 5325 N.W. 77TH AVENUE, MIAMI, FL 33166, and

      authorized to do business in the state of Florida.

19.   Upon information and belief, at all times relevant to this Complaint, Defendant BT'S ON THE

      RIVER, LLC, d/b/a BOOBY TRAP, is a Florida Limited Liability Company with its principal

      place of business located at 3615 N.W. SOUTH RIVER DRIVE, MIAMI, FL 33142, and

      authorized to do business in the state of Florida.




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20.   Upon information and belief, at all times relevant to this Complaint, Defendant THE GORI

      FAMILY LIMITED PARTNERSHIP, d/b/a BOOBY TRAP, is a Florida Limited Partnership

      with its principal place of business located at 2840 HAMMONDVILLE ROAD, POMPANO

      BEACH, FL 33069, and authorized to do business in the state of Florida.

21.   Upon information and belief, at all times relevant to this Complaint, Defendant PG

      INVESTMENTS II, INC., d/b/a BOOBY TRAP, is a Florida Profit Corporation with its

      principal place of business located at 2840 HAMMONDVILLE ROAD, POMPANO BEACH,

      FL 33069, and authorized to do business in the state of Florida.

22.   Upon information and belief, at all times relevant to this Complaint, Defendant THE NEW

      MINT, LLC, d/b/a BOOBY TRAP, is a Foreign Limited Liability Company with its principal

      place of business located at 2840 HAMMONDVILLE ROAD, POMPANO BEACH, FL

      33069, and authorized to do business in the state of Florida.

23.   Upon information and belief, at all times relevant to this Complaint, Defendant WACHOVIA

      HOLDINGS LLC, d/b/a BOOBY TRAP, is a Foreign Limited Liability Company with its

      principal place of business located at 2840 HAMMONDVILLE ROAD, POMPANO BEACH,

      FL 33069, and authorized to do business in the state of Florida.

24.   Upon information and belief, at all times relevant to this Complaint, Defendant ADULT CLUB

      MANAGEMENT LLC, d/b/a BOOBY TRAP is a Foreign Limited Liability Company with its

      principal place of business located at 2840 HAMMONDVILLE ROAD, POMPANO BEACH,

      FL 33069, Florida, and authorized to do business in the state of Florida.

25.   Defendants BOOBY TRAP, INC., BT'S RIVERFRONT LAND HOLDINGS, LLC, d/b/a

      BOOBY TRAP, BTS NORTH, INC. d/b/a BOOBY TRAP, T.K. PROMOTIONS, INC. d/b/a

      BOOBY TRAP, P.T.G. ENTERTAINMENT, INC., d/b/a BOOBY TRAP, B&G OPA LAND




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      HOLDINGS. LLC, d/b/a BOOBY TRAP, BT'S ON THE RIVER, LLC, d/b/a BOOBY TRAP,

      THE     GORI      FAMILY      LIMITED      PARTNERSHIP,       d/b/a   BOOBY      TRAP,      PG

      INVESTMENTS II, INC., d/b/a BOOBY TRAP, THE NEW MINT, LLC, d/b/a BOOBY

      TRAP, WACHOVIA HOLDINGS LLC, d/b/a BOOBY TRAP, and ADULT CLUB

      MANAGEMENT LLC, d/b/a BOOBY TRAP are corporate entities, each of which owns or

      co-owns and operates one of four “full friction and full nudity” gentlemen’s clubs (“Clubs”) in

      the South Florida area.

26.   Upon information and belief, at all times relevant to this Complaint, Defendant BOOBY

      TRAP meets the definition of an "employer" under all applicable state and local statutes.

27.   At all times material, SOLI LNU is a male. Defendant worked for BOOBY TRAP as a

      security guard.

28.   At all times material, Defendant ABE LNU, a male, held a supervisory position at Defendant

      BOOBY TRAP, controlling many tangible aspects of Plaintiff’s job duties, including holding

      the power to hire and fire Plaintiff.

29.   At all times material, Defendant ANTHONY NAMIAS, a male, held a supervisory position

      at Defendant BOOBY TRAP, controlling many tangible aspects of Plaintiff’s job duties,

      including holding the power to hire and fire Plaintiff.

                                       STATEMENT OF FACTS

30.   Plaintiff began working at Booby Trap on The River, a gentlemen's club, around mid-2017

      where she would work the day shift which was noon to 10:00 PM.

31.   As was custom in Plaintiff’s profession she accepted drinks from customers, which Defendants

      encouraged as buying drinks for Defendants’ staff encouraged customers to customers spend

      more money, helped loosen up employees so they could perform better, and drinking helped




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      add to the atmosphere of the gentlemen's club.

32.   On or around October 25, 2017, after 10:00 PM and finishing her day shift, Plaintiff changed

      in to her non-work clothes and requested an Uber ride so she could pick up her daughter.

33.   When ABLE, Plaintiff’s manager, saw she was leaving work, he told her, “If you leave, don’t

      come back,” and “You need to work a second shift to tip out.”

34.   Plaintiff begged her ABLE to let her leave as planned, stating the she needed to leave because

      her shift already ended, she was exhausted, and she did not feel safe working if she had to

      continue working a second shift and have to drink more.

35.   Her HOUSE-MOM and manager ABLE forced Plaintiff to work the following night shift

      which went on until 5:00 AM.

36.   Around 5:00 AM, her HOUSE-MOM and manager ABLE finally allowed Plaintiff to go home.

37.   At the end of this shift, Plaintiff asked a male bouncer known as “SOLI” if she paid him $20.00,

      would he could take her home. SOLI agreed and the two left work.

38.   Plaintiff exited the workplace with the knowledge of her supervisors and with her supervisors

      knowing that Plaintiff was intoxicated as a result of working the back-to-back shifts.

39.   At all material times, it was against the company’s policy for bouncers to drive home other

      employees for safety reasons, such as the risk of sexual assault and sexual harassment after

      female employees left the workplace.

40.   However, while Plaintiff was resting in SOLI’s vehicle, she did not notice that instead of taking

      her to her home on Miami Beach—around 15 min away—SOLI drove her to a deserted area

      in Homestead, Florida, which was roughly an hour away.

41.   In Homestead, SOLI took Plaintiff to a cheap motel where he raped her against her will.

42.   As SOLI raped her, she passed out and later awoke with SOLI furious because he saw that




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      after he raped her that Plaintiff was on her menstrual cycle and her blood was all over the sheets

      of the bed.

43.   Soon after, the angry SOLI told Plaintiff to get in the car to get coffee at a gas station, as

      Plaintiff did not know where she was and was extremely afraid of SOLI, she obeyed and

      entered his vehicle.

44.   As soon as Plaintiff and SOLI arrived at the gas station and Plaintiff stepped out of his car,

      SOLI speed off leaving Plaintiff stranded in the unknown location humiliated, scared, and in

      extreme emotional distress.

45.   With not much battery left on her cellphone, Plaintiff used her phone to order an Uber to her

      home.

46.   About two days after she was raped and stranded by SOLI, Plaintiff went to her employer to

      inform management the SOLI raped her and stranded her in homestead.

47.   Initially, Plaintiff spoke to VINNY, another bouncer, and VINNY encouraged her to, “tell

      someone.”

48.   With VINNY’s encouragement, next Plaintiff informed KEVIN and another manager in the

      Managers’ Office.

49.   In response to learning of Plaintiff’s sexual assault, management made no reassurance that she

      would be safe and KEVIN also disclaimed liability and told her to talk to the “night managers”

      rather than him.

50.   Also, in this conversation with management, Plaintiff also learned that her account of sexual

      assault was not the only rape to be tied to the her place of employment.

51.   Based on the lack of response from the Defendants, Plaintiff’s continued fears, and knowledge

      that other sexual assaults had happened in the past, Plaintiff refused to continue working for




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      Booby Trap on The River.

52.   At a later date, Plaintiff called the local police for help.

53.   At all material times, Plaintiff was a qualified individual whose job performance was

      satisfactory before she became a victim of discrimination in the workplace, which lead to her

      extreme emotional distress.

54.   The above are just some of the examples of unlawful discrimination and retaliation to which

      the Defendants subjected Plaintiff on an ongoing continuous basis.

55.   As a result of Defendants’ continued harassment of Plaintiff, she suffered, and will continue

      to suffer, numerous injuries including physical, economic, and emotional damages.

56.   Plaintiff alleges that, at all material times, that Defendants knew or should have known of the

      risk of SOLI sexually assaulting and discriminating against Plaintiff.

57.   Plaintiff alleges that, at all material times, that Defendant was grossly negligent in supervising

      SOLI and training employees in anti-discrimination employment practices.

58.   Plaintiff claims that Defendants discriminated against and terminated Plaintiff because of her

      sex/ gender, and because she complained or opposed the unlawful conduct of Defendants

      related to her sex/ gender.

59.   As a result of Defendants’ above actions, Plaintiff felt extremely humiliated, degraded,

      victimized, embarrassed, and emotionally distressed.

60.   As a result of Defendants’ discriminatory and intolerable treatment of Plaintiff, Plaintiff suffers

      from high stress, anxiety, depression, and other symptoms in addition to physical ailments.

61.   As a direct and proximate result of Defendants’ conduct, Plaintiff has been injured and suffered

      severe psychological and emotional injuries including degradation, humiliation, mental




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      anguish, loss of the capacity for the enjoyment of life, loss of dignity, and other nonpecuniary

      and intangible injuries.

62.   Plaintiff further claims aggravation, activation, and/or exacerbation of any preexisting

      condition.

63.   Plaintiff has also suffered future pecuniary losses, emotional pain, suffering, inconvenience,

      loss of enjoyment of life, and other non-pecuniary losses.

64.   As Defendants’ conduct has been malicious, reckless, willful, outrageous, and conducted with

      full knowledge of the law, Plaintiff demands punitive damages against Defendants.

65.   At all times material, Defendant SOLI was an employee, servant and/or agent of Defendant

      BOOBY TRAP and at all times material was acting within the course and scope of his

      employment.

66.   Therefore, Defendant BOOBY TRAP is vicariously liable for the tortious acts committed by

      Defendant SOLI as set forth in the above paragraphs.

67.   Plaintiff claims a continuous practice of discrimination and claims a continuing violations and

      makes all claims herein under the continuing violations doctrine.

68.   Plaintiff further claims constructive and/or actual discharge to the extent Plaintiff is terminated

      from Plaintiff ‘s position as a result of the unlawful discrimination and retaliation.

69.   Plaintiff claims unlawful constructive and/or unlawful actual discharge and also seeks

      reinstatement.

70.   Plaintiff claims alternatively (in the event Defendant Claims so or that the Court determines)

      that Plaintiff is an Independent Contractor, and Plaintiff makes all applicable claims for the

      above conduct and facts under the applicable law pertaining to Independent Contractors.




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                                 COUNT I – SEXUAL BATTERY
                                 [AGAINST DEFENDANT SOLI]

71.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

      36 to 70.

72.   Without privilege or consent, Defendant intentionally caused offensive and harmful contacts

      with Plaintiff’s person by removing Plaintiff’s clothing, holding Plaintiff down, and forcibly

      raping Plaintiff in the vagina with his penis.

73.   Defendant acted with the intent to cause the foregoing offensive and harmful contacts, against

      Plaintiff’s will and despite her protests and physical resistance.

74.   As the direct and proximate result of Defendant’s offensive and harmful contacts, Plaintiff has

      suffered injuries, damages, and losses – including, without limitation, past and future physical

      injury, pain, and suffering; past and future emotional and mental distress, pain, and suffering;

      past and future harm to Plaintiff’s education and its opportunities and benefits; impaired

      earnings capacity, past and future; and past and future losses of the enjoyment of life.

                                   COUNT II – ASSAULT
                                [AGAINST DEFENDANT SOLI]

75.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

      36 to 70.

76.   Before and during the course of forcibly raping Plaintiff, Defendant intentionally threatened

      immediate harmful contacts with Plaintiff’s person by use of his hands, arms and other body

      parts.

77.   Defendant intentionally caused or acted with a reckless disregard of causing Plaintiff to fear

      that such threatened contacts put her in imminent peril and that, in light of his size, strength

      and surroundings, Defendant had the present ability to carry them out.




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78.   Plaintiff readily apprehended these threatened contacts, which created a well-founded fear that

      sexual and other violence to her person was about to take place.

79.   As the direct and proximate result of Defendant’s threatened contacts, Plaintiff has suffered

      injuries, damages, and losses – including, without limitation, past and future -10- physical

      injury, pain, and suffering; past and future emotional and mental distress, pain, and suffering;

      past and future harm to Plaintiff’s education and its opportunities and benefits; impaired

      earnings capacity, past and future; and past and future losses of the enjoyment of life. COUNT


                            COUNT III – FALSE IMPRISONMENT
                              [AGAINST DEFENDANT SOLI]

80.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

      36 to 70.

81.   Without privilege or authority, Defendant intentionally and physically restrained and confined

      Plaintiff by use of his hands, arms and other body parts for the purpose of and with the

      knowledge that his actions would result in Plaintiff being confined and restrained in, among

      other places, his bedroom and bathroom.

82.   Defendant acted with the intent to restrain and deprive Plaintiff of her liberty, against Plaintiff’s

      will and despite her protests and physical resistance.

83.   Throughout Defendant’s restraint and confinement of her person, Plaintiff had no reasonable

      means or avenue of escape.

84.   Plaintiff in no way consented to being so restrained or confined by Defendant.

85.   Defendant’s acts of restraining and confining Plaintiff were wholly without authority and

      completely unreasonable in light of the foregoing facts and circumstances.

86.   As the direct and proximate result of Defendant’s unlawful restraint and deprivation of her




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      liberty, Plaintiff has suffered injuries, damages, and losses – including, without limitation, past

      and future physical injury, pain, and suffering; past and future emotional and mental distress,

      pain, and suffering; past and future harm to Plaintiff’s education and its opportunities and

      benefits; impaired earnings capacity, past and future; and past and future losses of the

      enjoyment of life.

87.   WHEREFORE, Plaintiff respectively demands judgment against Defendant for money

      damages in excess of $15,000, costs, and such other and further relief as the Court may deem

      just and proper.

                         COUNT IV – INTENTIONAL INFLICTION OF
                                 EMOTIONAL DISTRESS
                               [AGAINST ALL DEFENDANTS]

88.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

      30 to 70.

89.   In forcibly raping Plaintiff, Defendant intentionally caused or acted with a reckless disregard

      of causing Plaintiff to suffer severe mental anguish and suffering.

90.   Defendant’s conduct and actions in forcibly raping Plaintiff went beyond all possible bounds

      of decency and was shocking, atrocious and utterly intolerable in a civilized society.

91.   Defendant’s aforementioned conduct was extreme and outrageous and caused Plaintiff to

      suffer severe mental anguish and suffering, including, more specifically, loss of sleep,

      flashbacks, severe anxiety, fear of repeat sexual violence, an unfounded sense of shame and

      depression, all of which will continue to require psychological and other counseling.

92.   As the direct and proximate result of Defendant’s intentional or reckless infliction of emotional

      distress, Plaintiff has suffered injuries, damages, and losses – including, without limitation,

      past and future emotional and mental distress, pain, and suffering; past and future harm to



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      Plaintiff’s education and its opportunities and benefits; impaired earnings capacity, past and

      future; and past and future losses of the enjoyment of life.

93.   WHEREFORE, Plaintiff respectively demands judgment against Defendant for money

      damages in excess of $15,000, costs, and such other and further relief as the Court may deem

      just and proper.

                                  COUNT V – NEGLIGENCE
                                [AGAINST ALL DEFENDANTS]

94.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

      30 to 70.

95.   The Defendants had actual or constructive notice or knowledge of a history of criminal activity

      in and about its place of business, prior to the incident in question.

96.   Defendants created a dangerous condition on the property where women and female employees

      were at an increased risk of being subjected to sexual harassment, sexual battery, sexual assault,

      false imprisonment, and intentional infliction of emotional distress.

97.   Prior to the incident in question, the Defendants knew, or reasonably should have known that

      its place of business was the subject of numerous documented violent criminal acts, including

      women and female employees being subjected to sexual harassment, sexual battery, sexual

      assault, false imprisonment, and intentional infliction of emotional distress.

98.   Prior to October 25, 2017, Defendants knew or reasonably should have known that sexual

      harassers frequently entered their business and in the immediate vicinity of its place of

      business, consuming alcohol and illegal substances.

99.   Prior to October 25, 2017, Defendants knew or reasonably should have known that female

      patrons and employees were a vulnerable population at its place of business as female patrons

      and female employees regularly consumed alcohol and illegal substances on the premises and


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       in the immediate vicinity of its place of business.

100.   Prior to October 25, 2017, Defendants knew or reasonably should have known that female

       patrons and employees were a vulnerable population at its place of business as males would

       frequently solicit sex from Defendants’ female employees and female patrons on the premises

       and in the immediate vicinity of its place of business.

101.   Prior to October 25, 2017, Defendants knew or reasonably should have known that the sexual

       nature of its business and alcohol being sold at its place of business would increase the

       likelihood of criminal activity which could endanger its female employees and female patrons.

102.   Prior to October 25, 2017, it was reasonably foreseeable to Defendants that the sexual nature

       of its business and alcohol being sold at its place of business would increase the likelihood of

       criminal activity which could endanger its female employees and female patrons.

103.   Defendants had a duty to Plaintiff, who was an employee—or in the alternative a customer—

       at its place of business, to maintain the premises in a reasonably safe condition, and to warn of

       existing dangers.

104.   Defendants had a duty to take reasonable action to provide adequate warning, security and / or

       security measures to protect Plaintiff while at its place of business.

105.   Defendants did not take reasonable steps to make its place of business safe or at least minimize

       the danger.

106.   Defendants were negligent, and breached its duty of care to Plaintiff by failing to warn, to

       maintain its place of business in a reasonably safe condition, and by failing to have adequate

       security personnel and/ or measures in place to control, patrol and / or guard against criminal

       activity at its place of business, thereby contributing to, and failing to prevent the sexual

       battery, battery and assault on Plaintiff.




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107.   As a direct, legal and proximate cause of the Defendants’ breach of duty; Plaintiff has suffered

       sexual battery, assault and battery.

108.   Additionally, Plaintiff has suffered and continues to suffer emotional distress, loss of income,

       future pecuniary losses, emotional pain, inconvenience, loss of enjoyment of life, and other

       non-pecuniary damages.

109.   Plaintiff reserves the right to seek leave as to her entitlement to punitive damages.

                         COUNT VI – NEGLIGENT HIRING, TRAINING,
                             SUPERVISION AND RETENTION
                              [AGAINST ALL DEFENDANTS]

110.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 70.

111.   Defendants owed a duty of reasonable care to Plaintiff to keep her free from harassment,

       violence and/or risk of harm.

112.   Defendants also owed a duty of reasonable care to hire, select, supervise and train its

       employees and/or other third persons that are performing work on behalf of Defendants.

113.   Defendants breached its duties of care as set forth above.

114.   Defendants conduct was the proximate cause of Plaintiff’s injuries and damages.

115.   Plaintiff sustained an actual loss or injury as a result of Defendants’ conduct.

116.   The employees of Defendants who engaged in such conduct described herein were acting

       within the course of their employment with Defendants.

117.   Defendants knew or should have known that its employee or employees were acting in a

       dangerous, harassing and or otherwise improper manner.

118.   Notwithstanding Defendants’ knowledge as set forth herein, Defendants nevertheless hired,

       retained and/or failed to adequately train or supervise its employees.


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119.   The injuries and damages sustained by Plaintiff as a result of Defendants’ conduct were

       reasonably foreseeable.


                COUNT VII – FLSA: FAILURE TO PAY THE MINIMUM WAGE
                        [AGAINST BOOBY TRAP DEFENDANTS]

120.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 70.

121.   Defendants and those who elect to opt into this action under the FLSA, 29 U.S.C. §§ 216(b),

       that Defendants willfully violated the FLSA by failing to pay the minimum wage.

122.   Defendants failed to pay Plaintiff any per hour wage when federal law required the company

       to pay at least a minimum wage.

123.   Defendants paid Plaintiff below the minimum wage because, upon information and belief,

       she is a tipped employee and they were availing themselves of the tip credit: the difference

       between the statutory minimum wage and the rate tipped employees may be paid, provided

       certain conditions are met. This is often referred to as the “tipped minimum wage.”

124.   Defendants forced Plaintiff to share her tips with other employees, controlled the hours and

       days she worked, dictated how she was to work, and controlled what she wore at the

       workplace.

125.   Defendants forced Plaintiff to share her tips with management, security, the DJ, and other

       members of Defendants’ staff before she was allowed to leave work.

126.   Defendants did not inform their customers that they were retaining any portion of the

       automatic gratuity. Customers reasonably believed 100% of the gratuity was being remitted

       to the waiters and other serving staff.




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127.   Defendants knowingly failed to pay Plaintiff the minimum wages to which she was entitled

       under the FLSA.

128.   Defendants were required to pay Plaintiff the full minimum wage rate for all hours worked.

129.   Defendants were not permitted to avail themselves of the federal tipped minimum wage rate

       under the FLSA, 29 U.S.C. § 203(m) and 29 C.F.R. § 531.59, because Defendants failed to

       inform Plaintiff of the FLSA, 29 U.S.C. § 203(m), and Defendants retained a portion of

       Plaintiff’s tips.

130.   As a result of Defendants’ FLSA violations, Plaintiff has suffered damages by being denied

       minimum wages in accordance with the FLSA in amounts to be determined at trial, and are

       entitled to recovery of such amounts, liquidated damages, prejudgment interest, attorneys’

       fees, costs, and other compensation under 29 U.S.C. § 216(b), and such other legal and

       equitable relief as this Court deems just and proper.

131.   Defendants willfully violated the above and Plaintiff suffered numerous damages as a result.


                           COUNT VIII – DISCRIMINATION UNDER TITLE VII
                              [AGAINST BOOBY TRAP DEFENDANTS]
132.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 70.

133.   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2. [Section 703]

       states in relevant part as follows:

           (a) Employer Practices; it shall be an unlawful employment practice for an
           employer - (1) to fail or refuse to hire or to discharge any individual, or otherwise
           to discriminate against any individual with respect to her/his compensation, terms,
           conditions, or privileges of employment, because of such individual’s race, color,
           religion, sex, or national origin.

134.   The Defendant’s constructive discharge and harassment of Plaintiff was, in whole or in part

       because she was a woman.


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135.   Defendant failed to remedy work conditions that the female employees that complained of and

       allowed the unlawful discrimination towards female employees to continue.

136.   Defendant SOLI sexually harassed and sexually assaulted Plaintiff.

137.   Defendant SOLI targeted Plaintiff to degrading a humiliating unlawful treatment because he

       wanted to assert dominance over her as a woman.

138.   At all material times, Defendants engaged in discriminatory practices which resulted in

       Plaintiff being subjected to a discriminatory hostile work environment in violation of Title VII

       of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq., as amended.

139.   Defendant violated Title VII by unlawfully discharging and discriminating against Plaintiff

       based her sex and by allowing an unsafe work environment that was hostile towards women in

       which the Defendants were fully aware of.

140.   Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. §2000e et seq.,

       by discriminating against Plaintiff because of her sex/gender.


                         COUNT IX – RETALIATION UNDER TITLE VII
                           [AGAINST BOOBY TRAP DEFENDANTS]
141.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 52.

142.   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3(a) provides that it

       shall be unlawful employment practice for an employer:

          “(1) to . . . discriminate against any of his employees . . . because [s]he has opposed
          any practice made an unlawful employment practice by this subchapter, or because
          [s]he has made a charge, testified, assisted or participated in any manner in an
          investigation, proceeding, or hearing under this subchapter.”

143.   The Defendants have discriminated against and refused to protect Plaintiff in the terms and

       conditions of her employment, and have denied the Plaintiff continued employment in



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       retaliation for her lawfully having engaged in statutorily protected activity and as a result of

       her complaints of discrimination.

144.   Defendant SOLI sexually harassed and sexually assaulted Plaintiff and when she complained

       of the unlawful conduct, Defendants forced her to resign.

145.   At all material times, Plaintiff opposed and complained of Defendant SOLI’s unlawful

       conduct.

146.   After Plaintiff opposed and complained of Defendant SOLI’s unlawful conduct, Defendants

       forced Plaintiff to resign was, in whole or in part, in retaliation for her complaints and

       opposition to unlawful discrimination in the workplace.

147.   The Defendants have discriminated against and harassed the Plaintiff in the terms and

       conditions of her employment and have denied the Plaintiff the ability to have continued

       employment in retaliation for her lawfully having engaged in statutorily protected activity and

       as a result of her complaints of discrimination.

148.   Defendants engaged in unlawful employment practice prohibited by 42 U.S.C. §2000e et seq.

       by retaliating against Plaintiff with respect to the terms, conditions or privilege of employment

       because of her opposition to the unlawful employment practices of Defendant.


                          COUNT X – DISCRIMINATION UNDER FCRA
                           [AGAINST BOOBY TRAP DEFENDANTS]

149.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 70.

150.   Plaintiff suffered as a result of being exposed to sex/gender discrimination, sexual harassment,

       sexual assault, hostile work environment, retaliation, and unlawful constructive discharge.

151.   Defendant SOLI sexually harassed and sexually assaulted Plaintiff.



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152.   Defendant SOLI targeted Plaintiff to degrading a humiliating unlawful treatment because he

       wanted to assert dominance over her as a woman.

153.   Defendants are prohibited under the FCRA from discriminating against Plaintiff because of

       her sex/gender with regard to discharge, employee compensation, and other terms, conditions,

       and privileges of employment.

154.   Defendants violated the FCRA by unlawfully discharging and discriminating against Plaintiff

       based her sex and by allowing an unsafe work environment that was hostile towards women in

       which the Defendants were fully aware of.

155.   Defendants violated the sections cited herein by failing to consider Plaintiff’s requests to make

       the work environment safe, creating and maintaining discriminatory working conditions, and

       otherwise discriminating against the Plaintiff.

156.   Plaintiff has been damaged by the illegal conduct of Defendant.

                            COUNT XI – RETALIATION UNDER FCRA
                             [AGAINST BOOBY TRAP DEFENDANTS]

157.   Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in paragraphs

       30 to 70.

158.   Defendant SOLI sexually harassed and sexually assaulted Plaintiff and when she complained

       of the unlawful conduct, Defendants forced her to resign.

159.   At all material times, Plaintiff opposed and complained of Defendant SOLI’s unlawful

       conduct.

160.   After Plaintiff opposed and complained of Defendant SOLI’s unlawful conduct, Defendants

       forced Plaintiff to resign was, in whole or in part, in retaliation for her complaints and

       opposition to unlawful discrimination in the workplace.




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161.   The Defendants have discriminated against and harassed the Plaintiff in the terms and

       conditions of her employment and has denied the Plaintiff the ability to have continued

       employment in retaliation for her lawfully having engaged in statutorily protected activity and

       as a result of her complaints of discrimination.

162.   Plaintiff was forced to resign out of fear for her life because of Defendant SOLI’s sexual assault

       and Defendants failing to give Plaintiff adequate assurances that the workplace would be safe

       for her.

163.   Defendants violated the sections cited herein by failing to consider Plaintiff’s requests to make

       the work environment safe, creating and maintaining discriminatory working conditions, and

       otherwise discriminating and retaliating against the Plaintiff because of her sex/gender and for

       having complained of discrimination.


                                               JURY DEMAND

   Plaintiff requests a jury trial on all issues to be tried.

   Dated: Miami, Florida
          August 31, 2019
                                                                Respectfully submitted,

                                                                DEREK SMITH LAW GROUP, PLLC
                                                                Attorneys for Plaintiff



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